Case 0:17-cv-60426-UU Document 225-1 Entered on FLSD Docket 10/01/2018 Page 1 of 2

                                      ATTORNEYS’ EYES ONLY


                                IN THE UNITED STATES DISTRICT
                                 COURT SOUTHERN DISTRICT OF
                                            FLORIDA
                                     Case No.: 17-cv-60426-UU

   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

         Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

      Defendants.
                                                  /

                           DEFENDANTS’ NOTICE OF SEALED FILING

             Defendants BuzzFeed, Inc. and Ben Smith hereby provide notice pursuant to Southern

   District of Florida Local Rule 5.4(b)(1) and this Court’s Order entered September 19, 2018,

   Dkt. 205 (the “September 19 Order”), of the filing of Defendants’ Motion for Partial Summary

   Judgment and Incorporated Memorandum of Law, and the supporting papers thereto.

             Good cause exists for the sealing of these papers because they contain information and

   documents that were designated Confidential or Attorneys’ Eyes only pursuant to the Court’s

   Amended Protective Order, Dkt. 97.

             Pursuant to the September 19 Order, Defendants will file a public, redacted version of

   this Motion and its supporting papers within seven days.

   Dated: September 21, 2018
                                               Respectfully submitted,
                                               /s/ Katherine M. Bolger
                                               Katherine M. Bolger
                                               Nathan Siegel
                                               Adam Lazier
                                               Alison Schary
Case 0:17-cv-60426-UU Document 225-1 Entered on FLSD Docket 10/01/2018 Page 2 of 2

                             ATTORNEYS’ EYES ONLY


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